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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  Steven S. Brown,                            :     Case No. 2:13-cv-00006
                                              :
         Plaintiff,                           :     District Judge George C. Smith
                                              :     Magistrate Judge Sharon L. Ovington
  vs.                                         :
  Director Mohr, et al.,                      :
                                              :
         Defendants.                          :


                                          ORDER


        Plaintiff has not opposed or otherwise responded to Defendants’ Motion for

Summary Judgment, which was filed on February 18, 2019. (Doc. #254). The deadline

for filing his opposition or response has passed.

        Plaintiff recently filed a document captioned, “Motion for Judgment on the

Pleadings or Summary Judgment.” (Doc. #266). He notes in his Motion that Defendants

“are a month overdue…,” id., in filing a Motion for Summary Judgment. This introduces

uncertainty regarding whether Plaintiff has received copy of Defendants’ Motion for

Summary Judgment. It is therefore ORDERED that:

    1. Defendants confirm and notify the Court by April 26, 2019 that Plaintiff has
       received a copy of Defendants’ Motion for Summary Judgment and related
       documents; and,

    2. Plaintiff shall file his Response to Defendants’ Motion for Summary Judgment by
       May 27, 2019.

April 16, 2019                                    s/Sharon L. Ovington
                                                  Sharon L. Ovington
                                                  United States Magistrate Judge
